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                                                                         MSMCH Loan No. 12-38089


              GUARANTY OF RECOURSE OBLIGATIONS OF BORROWER

        FOR VALUE RECEIVED, and to induce MORGAN STANLEY MORTGAGE
CAPITAL HOLDINGS LLC, a New York limited liability company, having an address at 1585
            10th Floor, New York, New York 10036 ("Lender"),
Broadway, 10th                                       (''Lender"), to lend to 767 8TH AVENUE
LLC, a Delaware limited liability company, and SHERMAN MANAGEMENT LLC, a
                                                                                            4 J1h
Delaware limited liability company, each having its principal place of business at 302 West 47th
Street, New York, New York 10036, on a joint and several basis (together, "Borrower"), the
principal sum of ELEVEN MILLION FIVE HUNDRED THOUSAND AND 00/100 DOLLARS
($11,500,000.00) (the "Loan"), evidenced by a certain consolidated, amended and restated
promissory note (the "Note") and secured by a certain consolidated, amended and restated fee
and leasehold mortgage and security agreement (the "Security Instrument"), as described in
Exhibit A attached hereto and made a part hereof, and by other documents executed in
connection therewith. Capitalized terms not defined herein shall have the meaning set forth in
the Security Instrument.

       1.                  9th day of May, 2012, the undersigned, JOGINDER Y. SHARMA, an
                As of this 9th
                                63 rd Road, Forest Hills, New York 11375 (hereinafter referred to
individual, residing at 110-43 63rd
as "Guarantor"), hereby absolutely and unconditionally guarantees to Lender the prompt and
unconditional payment of the Guaranteed Recourse Obligations of Borrower (hereinafter
defined).

        2.     It is expressly understood and agreed that this is a continuing guaranty and that
the obligations of Guarantor hereunder are and shall be absolute under any and all circumstances,
without regard to the validity, regularity or enforceability of the Note, the Security Instrument, or
the other Loan Documents, a true copy of each of said documents Guarantor hereby
acknowledges having received and reviewed.

        3.      The term "Debt" as used in this Guaranty of Recourse Obligations of Borrower
(this "Guaranty") shall mean the principal sum evidenced by the Note and secured by the
Security Instrument, or so much thereof as may be outstanding from time to time, together with
interest thereon at the rate of interest specified in the Note and all other sums other than principal
or interest which may or shall become due and payable pursuant to the provisions of the Note,
the Security Instrument or the other Loan Documents.

       4.      The term "Guaranteed Recourse Obligations of Borrower" as used in this
Guaranty shall mean all obligations and liabilities of Borrower for which Borrower shall be
personally liable pursuant to Article XI of the Note.

       5.      Any indebtedness of Borrower to Guarantor now or hereafter existing (including,
but not limited to, any rights to subrogation Guarantor may have as a result of any payment by
Guarantor under this Guaranty), together with any interest thereon, shall be, and such
indebtedness is, hereby deferred, postponed and subordinated to the prior payment in full of the
Debt. Until payment in full of the Debt (and including interest accruing on the Note after the
commencement of a proceeding by or against Borrower under the Bankruptcy Reform Act of
1978, as amended, 11 U.S.C. Sections 101 et seq., and the regulations adopted and promulgated
pursuant thereto (collectively,
                  (collectively, the "Bankruptcy Code") which interest the parties agree shall


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remain a claim that is prior and superior to any claim of Guarantor notwithstanding any contrary
practice, custom or ruling in cases under the Bankruptcy Code generally), Guarantor agrees not
to accept any payment or satisfaction of any kind of indebtedness of Borrower to Guarantor and
hereby assigns such indebtedness to Lender, including the right to file proof of claim and to vote
thereon in connection with any such proceeding under the Bankruptcy Code, including the right
to vote on any plan of reorganization. Further, if Guarantor shall comprise more than one
Person, Guarantor agrees that until such payment in full of the Debt, (a) no one of them shall
accept payment from the others by way of contribution on account of any payment made
hereunder by such party to Lender, (b) no one of them will take any action to exercise or enforce
any rights to such contribution, and (c)  (c) if any of Guarantor should receive any payment,
satisfaction or security for any indebtedness of Borrower to any of Guarantor or for any
contribution by the others of Guarantor for payment made hereunder by the recipient to Lender,
the same shall be delivered to Lender in the form received, endorsed or assigned as may be
appropriate for application on account of, or as security for, the Debt and until so delivered, shall
be held in trust for Lender as security for the Debt.

       6.      Guarantor agrees that, with or without notice or demand, Guarantor will
reimburse Lender, to the extent that such reimbursement is not made by Borrower, for all actual
expenses (including reasonable counsel fees and any fees of a special servicer) incurred by
Lender in connection with the collection of the Guaranteed Recourse Obligations of Borrower or
any portion thereof or with the enforcement of this Guaranty.

        7.     All moneys available to Lender for application in payment or reduction of the
Debt may be applied by Lender in such manner and in such amounts and at such time or times
and in such order and priority as Lender may see fit to the payment or reduction of such portion
of the Debt as Lender may elect.

        8.       Guarantor waives (a) any defense based upon any legal disability or other defense
of Borrower, any other guarantor or other person, or by reason of the cessation or limitation of
the liability of Borrower from any cause other than full payment of all sums payable under the
Note, the Security Instrument or any of the other Loan Documents; (b) any defense based upon
any lack of authority of the officers, directors, partners or agents acting or purporting to act on
behalf of Borrower or any principal of Borrower or any defect in the formation of Borrower or
any principal of Borrower; (c)(c) any defense based upon the application by Borrower of the
proceeds of the Loan for purposes other than the purposes represented by Borrower to Lender or
intended or understood by Lender or Guarantor; (d)   (d) all rights and defenses arising out of an
election of remedies by Lender; (e) any defense based upon Lender's failure to disclose to
Guarantor any information concerning Borrower's financial condition or any other circumstances
bearing on Borrower's ability to pay all sums payable under the Note, the Security Instrument or
any of the other Loan Documents; (f) any defense based upon any statute or rule of law which
provides that the obligation of a surety must be neither larger in amount nor in any other respects
more burdensome than that of a principal; (g) any defense based upon Lender's election, in any
                                                                                  1111 (b)(2) of the
proceeding instituted under the Bankruptcy Code, of the application of Section 1111(b)(2)
Bankruptcy Code or any successor statute; (h) any defense based upon any borrowing or any
grant of a security interest under Section 364 of the Federal Bankruptcy Code; and (i)
presentment, demand protest and notice of any kind. In addition, Guarantor waives all rights and
defenses that Guarantor may have because Borrower's debt is secured by real property. This


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means, among other things: (1) Lender may collect from Guarantor without first foreclosing on
any real or personal property collateral pledged by Borrower; and (2) if Lender forecloses on any
real property collateral pledged by Borrower, then (i) the amount of the debt may be reduced
only by the price for which that collateral is sold at the foreclosure sale, even if the collateral is
worth more than the sale price, and (ii) Lender may collect from Guarantor even if Lender, by
foreclosing on the real property collateral, has destroyed any right Guarantor may have to collect
from Borrower. The foregoing sentence is an unconditional and irrevocable waiver of any rights
and defenses Guarantor may have because Borrower's debt is secured by real property. Finally,
Guarantor agrees that the payment of all sums payable under the Note, the Security Instrument or
any of the other Loan Documents or any part thereof or other act which tolls any statute of
limitations applicable to the Note or the other Loan Documents shall similarly operate to toll the
statute of limitations applicable to Guarantor's liability hereunder.

          9.     Guarantor further agrees that the validity of this Guaranty and the obligations of
Guarantor hereunder shall in no way be terminated, affected or impaired by reason of any of the
following: (a) the assertion by Lender of any rights or remedies which it may have under or with
following:
respect to either the Note, the Security Instrument, or the other Loan Documents, against any
Person obligated thereunder or against the owner of the Property, or (b) any failure to file or
record any of such instruments or to take or perfect any security intended to be provided thereby,
     (c) the release or exchange of any property covered by the Security Instrument or other
or (c)
collateral for the Loan, or (d) Lender's failure to exercise, or delay in exercising, any such right
or remedy or any right or remedy Lender may have hereunder or in respect to this Guaranty, or
( e) the commencement of a case under the Bankruptcy Code by or against any Person obligated
(e)
under the Note, the Security Instrument or the other Loan Documents, or the death of any
Guarantor, or (f) any partial or total transfer or pledge of the interests in Borrower, or in any
direct or indirect owner of Borrower, and/or the reconstitution of Borrower as a result of such
transfer or pledge, regardless of whether any of the foregoing is permitted under the Note, the
Security Instrument, and/or the other Loan Documents, or (g) any payment made on the Debt or
any other indebtedness arising under the Note, the Security Instrument or the other Loan
Documents, whether made by Borrower or Guarantor or any other Person, which is required to
be refunded pursuant to any bankruptcy or insolvency law; it being understood that no payment
so refunded shall be considered as a payment of any portion of the Debt, nor shall it have the
effect of reducing the liability of Guarantor hereunder. It is further understood, that if Borrower
shall have taken advantage of, or be subject to the protection of, any provision in the Bankruptcy
Code, the effect of which is to prevent or delay Lender from taking any remedial action against
Borrower, including the exercise of any option Lender has to declare the Debt due and payable
on the happening of any default or event by which under the terms of the Note, the Security
Instrument or the other Loan Documents, the Debt shall become due and payable, Lender may,
as against Guarantor, nevertheless, declare the Debt due and payable and enforce any or all of its
rights and remedies against Guarantor provided for herein.

        10.    Guarantor warrants and acknowledges that: (a) Lender would not make the Loan
but for this Guaranty; (b) there are no conditions precedent to the effectiveness of this Guaranty
and this Guaranty shall be in full force and effect and binding on Guarantor regardless of
whether Lender obtains other collateral or any guaranties from others or takes any other action
contemplated by Guarantor; (c) Guarantor has established adequate means of obtaining from
sources other than Lender, on a continuing basis, financial and other information pertaining to


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Borrower's financial condition, the Property and Borrower's activities relating thereto, and the
status of Borrower's performance of obligations under the Loan Documents, and Guarantor
agrees to keep adequately informed from such means of any facts, events or circumstances which
might in any way affect Guarantor's risks hereunder and Lender has not made any representation
to Guarantor as to any such matters; (d)   (d) the most recent financial statements of Guarantor
previously delivered to Lender are true, correct and complete in all respects, have been prepared
in accordance with GAAP or in accordance with other methods acceptable to Lender in its
                          (consistently applied) and fairly present the financial condition of
reasonable discretion (consistently
Guarantor in all material respects as of the respective dates thereof, and no material adverse
change has occurred in the financial condition of Guarantor since the respective dates thereof nor
have any assets or properties reflected on such financial statements been sold, transferred,
assigned, mortgaged, pledged or encumbered, except as previously disclosed in writing by
Guarantor to Lender; (e)(e) Guarantor has not and will not, without the prior written consent of
Lender, sell, lease, assign, encumber, hypothecate, transfer or otherwise dispose of all or
substantially all of Guarantor's assets, or any interest therein, other than in the ordinary course of
Guarantor's business; (f)
                        (±) Guarantor has not and will not cause or consent to any action or failure
to act that would result in Borrower failing to be at all times a "single purpose entity" as
described in Section 4.2 of the Security Instrument; (g) the execution and delivery of this
Guaranty constitute valid and binding obligations of Guarantor, enforceable in accordance with
their respective terms, except as such enforcement may be limited by bankruptcy, insolvency,
moratorium or other laws affecting the enforcement of creditors' rights, or by the application of
rules of equity; (h) the execution, delivery and performance by Guarantor of each of the Loan
Documents do not violate any provision of any law or regulation, or result in any breach or
default under any contract, obligation, indenture or other instrument to which Guarantor is a
party or by which Guarantor is bound; (i) there are no pending or, to Guarantor's knowledge,
threatened actions, claims, investigations, suits or proceedings before any governmental
authority, court or administrative agency which materially affect the financial condition or
operations of Guarantor, Borrower and/or the Property; (j)   G) there are no pending assessments or
adjustments of Guarantor's income tax payable with respect to any year; (k) none of the
transactions contemplated by the Loan Documents will be or have been made with an actual
intent to hinder, delay or defraud any present or future creditors of Guarantor, and Guarantor, on
the date hereof, will have received fair and reasonably equivalent value in good faith for the
granting of this Guaranty; and (1) as of the date hereof, Guarantor is solvent and will not be
rendered insolvent by the transactions contemplated by this Guaranty and Guarantor is able to
pay its debts as they become due.

        11.    Guarantor shall keep and maintain or will cause to be kept and maintained proper
and accurate books and records reflecting the financial affairs of Guarantor. Lender shall have
the right from time to time during normal business hours upon reasonable notice to Guarantor to
examine such books and records at the office of Guarantor or other Person maintaining such
books and records and to make such copies or extracts thereof as Lender shall desire. So long as
the Loan or any other obligation guaranteed hereby remains outstanding (other
                                                                          (other than, following
the termination of the Security Instrument and all other Loan Documents, contingent
indemnification obligations as to which no claim has been made), Guarantor shall provide to
Lender (i) within ninety (90) days after the end of each fiscal year, financial statements of
Guarantor covering the corresponding period then ended including a balance sheet, income and
expenses, cash flow and statement of change in financial position, prepared and certified by


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Guarantor, together with a certificate of Guarantor that the Minimum Financial Criteria (defined
                                                                                               (defined
below) continues to be satisfied as set forth in Section 22 hereof (including Guarantor's
calculation of Guarantor's Net Worth and Liquidity, each of such statements and calculations
delivered pursuant to this clause (i) shall be certified as being true and current by a responsible
officer of Guarantor, (ii) within ten (10) days of Lender's written request, a complete copy of
Guarantor's federal and (to the extent applicable) state income tax returns for the immediately
preceding tax year, and (iii) such other information reasonably requested by Lender and
reasonably available to Guarantor. Guarantor agrees that all financial statements to be delivered
to Lender pursuant to this Section 11 shall: (a) be complete and correct in all material respects;
                                                                        (c) disclose all liabilities that
(b) present fairly the financial condition of Guarantor, if applicable; (c)
                                                       (d) be prepared (i) in hardcopy and electronic
are required to be reflected or reserved against; and (d)
formats and (ii) in accordance with GAAP or in accordance with other methods acceptable to
Lender in its reasonable discretion (consistently applied). Guarantor shall be deemed to warrant
and represent that, as of the date of delivery of any such financial statement, there has been no
material adverse change in financial condition, nor have any assets or properties been sold,
transferred, assigned, mortgaged, pledged or encumbered (other (other than in the ordinary course of
business and in accordance with the Loan Documents) since the date of such financial statement
except as disclosed by Guarantor in a writing delivered to Lender. Guarantor shall promptly
notify Lender in writing of any litigation pending or threatened against Guarantor claiming
damages in excess of One Hundred Thousand and No/100 Dollars ($100,000.00) and of all
pending or threatened litigation against Guarantor if the aggregate damage claims against
Guarantor exceed Five Hundred Thousand and No/100  Noll 00 Dollars ($500,000.00). Guarantor agrees
that all financial statements shall not contain any misrepresentation or omission of a material fact
which would make such financial statements inaccurate, incomplete or otherwise misleading in
any material respect. Furthermore, each legal entity and individual obligated on this Guaranty
hereby authorizes Lender to order and obtain, from a credit reporting agency of Lender's choice,
a third party credit report on such legal entity and individual.

       12.      Guarantor further covenants that this Guaranty shall remain and continue in full
force and effect as to any modification, extension or renewal of the Note, the Security
Instrument, or any of the other Loan Documents, that Lender shall not be under a duty to protect,
secure or insure any security or lien provided by the Security Instrument or other such collateral,
and that other indulgences or forbearance may be granted under any or all of such documents, all
of which may be made, done or suffered without notice to, or further consent of, Guarantor.

        13.    This is a guaranty of payment and not of collection and upon the Guaranteed
Recourse Obligations of Borrower being incurred by Lender or upon any default of Borrower
under the Note, the Security Instrument or the other Loan Documents, Lender may, at its option,
proceed directly and at once, without notice, against Guarantor to collect and recover the full
amount of the liability hereunder or any portion thereof, without proceeding against Borrower or
any other Person, or foreclosing upon, selling, or otherwise disposing of or collecting or applying
against any of the mortgaged property or other collateral for the Loan. Guarantor hereby waives
the pleading of any statute of limitations as a defense to the obligation hereunder.

       14.     Each reference herein to Lender shall be deemed to include its successors and
assigns, to whose favor the provisions of this Guaranty shall also inure. Each reference herein to
Guarantor shall be deemed to include the heirs, executors, administrators, legal representatives,


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successors and assigns of Guarantor, all of whom shall be bound by the provisions of this
Guaranty.

        15.    If any party hereto shall be a partnership, the agreements and obligations on the
part of Guarantor herein contained shall remain in force and application notwithstanding any
changes in the individuals composing the partnership and the term "Guarantor" shall include any
altered or successive partnerships but the predecessor partnerships and their partners shall not
thereby be released from any obligations or liability hereunder.

        16.     It is the intent of Guarantor and Lender that the obligations and liabilities of
Guarantor hereunder are absolute and unconditional under any and all circumstances and that
until the Guaranteed Recourse Obligations of Borrower are fully and finally paid and performed,
and not subject to refund or disgorgement, the obligations and liabilities of Guarantor hereunder
shall not be discharged or released, in whole or in part, by any act or occurrence that might, but
for the provisions of this Guaranty, be deemed a legal or equitable discharge or release of a
Guarantor. This Guaranty shall be deemed to be continuing in nature and shall remain in full
force and effect and shall survive the exercise of any remedy by Lender under the Security
Instrument or any of the other Loan Documents, including, without limitation, any foreclosure or
deed in lieu of foreclosure.

       17.    All understandings, representations and agreements heretofore had with respect to
this Guaranty are merged into this Guaranty which alone fully and completely expresses the
agreement of Guarantor and Lender.

        18.     This Guaranty may be executed in one or more counterparts by some or all of the
parties hereto, each of which counterparts shall be an original and all of which together shall
constitute a single agreement of Guaranty. The failure of any party hereto to execute this
Guaranty, or any counterpart hereof, shall not relieve the other signatories from their obligations
hereunder.

       19.     This Guaranty may not be modified, amended, waived, extended, changed,
discharged or terminated orally or by any act or failure to act on the part of Lender or Borrower,
but only by an agreement in writing signed by the party against whom enforcement of any
modification, amendment, waiver, extension, change, discharge or termination is sought.

       20.     In the event that pursuant to any insolvency, bankruptcy, reorganization,
receivership or other debtor relief law or any judgment, order or decision thereunder, Lender
must rescind or restore any payment or any part thereof received by Lender in satisfaction of the
Guaranteed Recourse Obligations of Borrower, as set forth herein, any prior release or discharge
from the terms of this Guaranty given to Guarantor by Lender shall be without effect and this
Guaranty shall remain in full force and effect. It is the intention of Borrower and Guarantor that
Guarantor's obligations hereunder shall not be discharged except by Guarantor's performance of
such obligations and then only to the extent of such performance.

        21.     This Guaranty shall be deemed to be a contract entered into pursuant to the laws
of the State of New York and shall in all respects be governed, construed, applied and enforced




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in accordance with applicable federal law and the laws of the State of New York, without
reference or giving effect to any choice of law doctrine.

        22.     As a further inducement to Lender to make the Loan and in consideration thereof,
Guarantor further covenants and agrees (a) that in any action or proceeding brought by Lender
against Guarantor on this Guaranty, Guarantor shall and does hereby waive trial by jury, (b)
Guarantor will maintain a place of business or an agent for service of process in New York and
give prompt notice to Lender of the address of such place of business and of the name and
address of any new agent appointed by it, as appropriate, (c) the failure of Guarantor's agent for
service of process to give it notice of any service of process will not impair or affect the validity
of such service or of any judgment based thereon, (d) (d) if, despite the foregoing, there is for any
reason no agent for service of process of Guarantor available to be served, and if Guarantor at
that time has no place of business in the State of New York then Guarantor irrevocably consents
to service of process by registered or certified mail, postage prepaid, to it at its address given in
or pursuant to the first paragraph hereof, Guarantor hereby waiving personal service thereof, (e)
that within thirty days after such mailing, Guarantor so served shall appear or answer to any
summons and complaint or other process and should Guarantor so served fail to appear or
answer within said thirty-day period, said Guarantor shall be deemed in default and judgment
may be entered by Lender against the said party for the amount as demanded in any summons
and complaint or other process so served, (f) Guarantor initially and irrevocably designates Hugh
Finnegan, with offices on the date hereof at Sullivan and Worcester LLP, 1290 Avenue of the
Americas, New York, New York 10104, to receive for and on behalf of Guarantor service of
process in the State of New York with respect to this Guaranty, (g) with respect to any claim or
action arising hereunder, Guarantor (i) irrevocably submits to the nonexclusive jurisdiction of the
courts of the State where the Property is located and the United States District Court located in
the county in which the Property is located, and appellate courts from any thereof, and (ii)
irrevocably waives any objection which it may have at any time to the laying on venue of any
suit, action or proceeding arising out of or relating to this Guaranty brought in any such court,
irrevocably waives any claim that any such suit, action or proceeding brought in any such court
has been brought in an inconvenient forum, and (h) nothing in this Guaranty will be deemed to
preclude Lender from bringing an action or proceeding with respect hereto in any other
jurisdiction.

        23.    So long as the Loan and any of the obligations set forth in the Loan Documents
remain outstanding, Guarantor shall maintain (a) a minimum Net Worth (defined below) of not
less than fifty percent (50%) of the Net Worth of Guarantor as of the date hereof, and (b)
Liquidity (defined below) of not less than fifty percent (50%) of the Liquidity of Guarantor as of
the date hereof (the above items, (a) and (b), collectively, the "Minimum Financial Criteria").
As used herein: "Net Worth" shall mean net worth as calculated in accordance with generally
accepted accounting principles (or other principles acceptable to Lender); "Liquidity" shall mean
(a) unencumbered Cash and Cash Equivalents of Guarantor and (b) marketable securities of
Guarantor, each valued in accordance with generally accepted accounting principles (or   (or other
principles acceptable to Lender); and "Cash and Cash Equivalents" shall mean all unrestricted or
                                            following: (x) marketable direct obligations issued or
unencumbered (A) cash and (B) any of the following:
unconditionally guaranteed by the United States Government or issued by an agency thereof and
backed by the full faith and credit of the United States; (y) marketable direct obligations issued
by any state of the United States of America or any political subdivision of any such state or any


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public instrumentality thereof which, at the time of acquisition, has one of the two highest ratings
obtainable from any two (2) of Standard & Poor's Ratings Service ("S&P"), Moody's Investors
Service, Inc. ("Moody's") or Fitch, Inc. (or, if at any time no two of the foregoing shall be rating
such obligations, then from such other nationally recognized rating services as may be acceptable
to Lender) and is not listed for possible down-grade in any publication of any of the foregoing
rating services; (z) domestic certificates of deposit or domestic time deposits or repurchase
agreements issued by any commercial bank organized under the laws of the United States of
America or any state thereof or the District of Columbia having combined capital and surplus of
not less than $1,000,000,000.00, which commercial bank has a rating of at least either "AA" or
such comparable rating from S&P or Moody's, respectively; (aa) any funds deposited or invested
by Guarantor in accounts maintained with Lender and which are not held in escrow for, or
pledged as security for, any obligations of Guarantor, Borrower and/or any of their affiliates;
(bb) money market funds having assets under management in excess of $2,000,000,000.00
and/or
and/or (cc) any unrestricted stock, shares, certificates, bonds, debentures, notes or other
instrument which constitutes a "security" under the Securities Act of 1933 (other than Guarantor,
Borrower and/or any of their affiliates) which are freely tradable on any nationally recognized
securities exchange and are not otherwise encumbered by Guarantor.

        24.      Replacement Guarantor. To the extent that any Guarantor is a natural person, the
death or incompetency of such Guarantor shall be an Event of Default hereunder unless such
Guarantor is replaced in accordance with this Section. Borrower shall be permitted to substitute
a replacement guarantor and no "Event of Default" shall be deemed to have occurred hereunder,
provided that (a) no other Event of Default hereunder or under any of the other Loan Documents
has occurred and is then continuing; and (b) each of the following terms and conditions are
satisfied (i) within thirty (30) days after the occurrence of such death or incompetency, Borrower
delivers Lender written notice of its intent to substitute the guarantor, (ii) the replacement
guarantor is a Satisfactory Replacement Guarantor (as defined below), (iii) within thirty (30)
days after delivery of the written notice described in the preceding subclause (i), such
Satisfactory Replacement Guarantor assumes the obligations of Guarantor hereunder and under
the other Loan Documents in a manner satisfying the Prudent Lender Standard (defined below),
(iv) concurrently with such assumption, (A) such Satisfactory Replacement Guarantor delivers to
Lender a Spousal Consent (as defined below), as and to the extent applicable, and (B) each of
Borrower and such Satisfactory Replacement Guarantor affirms each of their respective
obligations under the Loan Documents in a manner satisfying the Prudent Lender Standard, and
(v) prior to or concurrently with such assumption, as applicable, Lender receives such
information, documentation and opinions as may be required by Lender in connection with such
assumption and the foregoing in order to satisfy the Prudent Lender Standard (including, without
limitation, opinions relating to REMIC (as defined in the Note)); and (C) such substitution is
permitted by then applicable REMIC Requirements. As used herein, the term "Satisfactory
Replacement Guarantor" shall mean a replacement guarantor that (1) satisfies the Minimum
Financial Criteria, (2) is acceptable to Lender and the Rating Agencies, (3) satisfies the Prudent
Lender Standard, and (4) is an Affiliate of Sponsor. As used herein the term "Prudent Lender
Standard" shall, with respect to any matter, be deemed to have been met if the matter in question
(i) prior to a securitization, is reasonably acceptable to Lender and (ii) after a securitization,
would be acceptable to a prudent lender of securitized commercial mortgage loans.




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        25.     Change in Residency. Guarantor hereby represents and warrants that each
Guarantor is a resident of the State of New York and that Guarantor's primary domicile is in the
State of New York. Guarantor shall not change Guarantor's State of residence and/or primary
domicile to a State that is a community property jurisdiction unless (i) Guarantor first (A)
provides Lender at least ten (10) Business Days prior written notice thereof, and (B) if Guarantor
is married at the time, causes Guarantor's spouse to execute and deliver to Lender a spousal
consent with respect to this Guaranty (which spousal consent shall be in form and substance
satisfactory to Lender) (a "Spousal Consent"), and (ii) if Guarantor is not married at the time and
subsequently marries, or if Guarantor enters into a new marriage, at any time when Guarantor is
a resident (and/or has a primary domicile) in a community property jurisdiction, Guarantor
causes his spouse to execute and deliver to Lender a Spousal Consent within ten (10) days after
the occurrence of any such marriage. Guarantor's failure to comply with any of the foregoing
shall, at Lender's option, constitute an "Event of Default" hereunder and under the Security
Instrument.

                           [NO FURTHER TEXT ON THIS PAGE]




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       IN WITNESS WHEREOF, Guarantor has duly executed this Guaranty as of the day
and year first above written.


                                            GUARANTOR:




                                              GINDER Y. SHARMA, wn
                                           —NIGENDER            aan ·ndividual
                                                                     ndividual




                    [Signature page to Guaranty of Recourse Obligations of Borrower]


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                                      EXHIBIT A

                (DESCRIPTION OF NOTE AND SECURITY INSTRUMENT)


      1.     Consolidated, Amended and Restated Promissory Note dated May 9, 2012 by and
between Borrower and Lender in the original principal amount of the Loan.

      2.     Consolidated, Amended and Restated Fee and Leasehold Mortgage and Security
Agreement dated May 9, 2102 by and between Borrower and Lender, which Consolidated,
Amended and Restated Fee and Leasehold Mortgage and Security Agreement secures the Note.




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